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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,                         CASE NO. 22-60028-CR-DIMITROULEAS

           Plaintiff,

  vs.

  LUKE JOSELIN,

        Defendant.
  ____________________________________/

                                             ORDER

           THIS CAUSE is before the Court on Non Party Kabbage, Inc.’s Motion to Quash

  Subpoena [DE-28], and the Court having considered the motion and being otherwise fully

  advised in the premises, it is hereby

           ORDERED AND ADJUDGED that the Motion [DE-28] is Denied. Corporations do not

  have 5th Amendment rights. Eagle Hosp. Physicians, LLC v. SRG Consulting, Inc., 561 F. 3d

  1298, 1303 n. 2 (11th Cir. 2009) citing, Braswell v. U.S., 487 U.S. 99, 102 (1988). There is not

  even an allegation that this is a one-person corporation, see, U.S. v. Stein, 2021 WL 3129628 * 4

  (S.D. Fla 2021). The Government has the burden to prove the criminal charges, beyond a

  reasonable doubt; no good cause has been shown to require them to “tie one hand behind their

  back”.

           DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  3rd day of June, 2022.
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  Copies furnished to:

  Counsel of Record
